Collective Exhibit 1 to MIL 2

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McDaniel v. UT Medical Group, Inc., Slip Copy (2018)

2018 WL 795506
Only the Westlaw citation is currently available.
United States District Court, W.D.
Tennessee, Western Division.

Charles Mark MCDANIEL, and his
wife, Melody McDaniel, Plaintiffs,
v.
UT MEDICAL GROUP, INC., Defendant.

16-cv-2895-TMP

|
Signed 02/08/2018

ORDER GRANTING DEFENDANT'S MOTION
TO EXCLUDE DR. MICHAEL ROBERTS

TU M. PHAM, United States Magistrate Judge

*1 Before the court is defendant UT Medical Group,
Inc.'s (‘UTMG”) motion to exclude the expert testimony
of Michael Roberts, M.D., filed on November 3, 3017.
(ECF No. 40.) Plaintiffs Charles Mark McDaniel and
Melody McDaniel filed a response on November 17, 2017.
(ECF No. 41.) UTMG filed a reply on December 7, 2017.
(ECF No. 44.)

The court has considered the briefs submitted in support
of and in opposition to the motion and their attached
exhibits. For the reasons provided below, UTMG's
motion is GRANTED.

I, BACKGROUND

The McDaniels allege that in 2009, a UTMG surgeon
working at Baptist Memorial Hospital, Stephen Behrman,
M.D., provided medical treatment to Mr. McDaniel of
a quality that “fell below the recognized standard of
acceptable professional practice for physicians in Shelby
County, Tennessee and similar communities.” (ECF No.
1 at 6.) Specifically, they allege that Dr. Behrman failed
to provide appropriate post-operative treatment for Mr.
McDaniel during his recovery from a surgery for a ventral
hernia repair. (Id. at 5 to 7.) The McDaniels claim that Dr.
Behrman's alleged negligence has caused them physical,

mental, emotional, and financial harm. (Id. at 7 to 8.) They
seek compensatory damages. (Id.)

In the instant motion, UTMG asks that the court exclude
one of the McDaniels' proposed expert witnesses, Dr.
Michael Roberts. (ECF No. 40-2 at 5.) UTMG argues
that Dr. Roberts should be excluded because he has failed
to demonstrate that he is sufficiently familiar with the
Memphis medical community or a similar community so
as to be able to testify about the standard of acceptable
professional practice in Memphis, Tennessee.

The McDaniels counter that UTMG is relying on
“outdated case law” and that the court should examine
the matter through the lens of the Tennessee Supreme
Court case of Shipley v. Williams, 350 S.W.3d 527
(Tenn. 2011). (ECF No. 41 at 2 to 3.) They claim that,
under the “relaxed” Shipley standard, Dr. Roberts has
demonstrated adequate familiarity with the Memphis
medical community in three ways. (Id.) First, they
argue, he has demonstrated that he is familiar with
the Memphis medical community because he is familiar
with Milledgeville, Georgia. To make their point, the
McDaniels offer this syllogism: (1) Dr. Roberts has
testified Milledgeville has a similar standard of care to
Dyersburg, Tennessee; (2) Dr. Behrman has testified
Dyersburg has a similar standard of care to Memphis; and
therefore, (3) Milledgeville must have a similar standard
of care to Memphis. (ECF No. 41 at 5.) To support this
argument, the McDaniels point to the deposition of Dr.
Behrman, which states, in applicable part, as follows:

Q: Do you know surgeons from other parts of
Tennessee, like Dyersburg or Jackson or Nashville?

A: Yes.

Q: Do you have occasion to talk to them about their
surgical practice and how they do things?

A: Yes.

Q: Do you know any surgeons in other states?
A: Yes.

Q: Do you know any surgeons in Georgia?

A: Yes.

Q: Any surgeons in Missouri?

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*2 A: Yes.

Q: When you've spoken to them about their surgical
practices, have there ever been anything that you've
determined was different about how they practiced
medicine there?

A: No.

Q: And you filed an Affidavit in this case, and we'll
get to that, but you claimed to be familiar with the
standard of care for surgeons here in Memphis and
Shelby County.

A: Yes.

Q: Do you believe there's a national standard of care for
ventral hernia repairs?

A: I would say so, yes.

Q: And in talking to surgeons in Dyersburg or Jackson,
you don't think the standard of care for ventral hernia
repairs there is any different than it is in Memphis?

A: I mean, techniques, mesh types might be different,
but I think the standard of care would be similar.

Q: Assuming similar treatment capabilities and access
to devices and things, correct?

A: Yes.

(Behrman Dep. 19:16—-21:16, Dec. 21, 2011, ECF No. 41-2
at 4 to 9.)

To further bolster this argument, the McDaniels highlight
Dr. Behrman's testimony that he believed other much
smaller communities share a similar standard of care with
Memphis:

Q: Were you of the opinion that the standard of care
in Memphis is the same as the standard of care in
Chattanooga?

A: Yes.

Q: Did you actually go to Chattanooga to testify?

A: It's actually some little town outside of Chattanooga
in the middle of nowhere.

Q: Franklin County. Is it Cleveland?

A: No, it's even smaller. I mean, it is—I mean, it's
Mayberry. I mean, it's tiny.

Q: But you still had the opinion that the standard of
care in Memphis was no different from the standard of
care in that city?

A: True.

Q: Did you believe the standard of care in Springfield,
Missouri was the same as Memphis, Tennessee?

A: I did.

(Behrman Dep. 92:20-94:17; ECF No. 41 at 5.)

Alternatively, the McDaniels argue Milledgeville and
Memphis are similar because Dr. Roberts testified that the
Milledgeville-located Oconee Regional Medical Center
and the Memphis-located Baptist Memorial Hospital are
similar. (ECF No. 41 at 6.) Finally, they argue that Dr.
Roberts's internet research of Baptist Memorial Hospital
has provided him with enough knowledge of the Memphis
medical community for him to know the standard of
acceptable professional practice in Memphis. (Id.) Dr.
Roberts's deposition contains the following testimony
relating to these arguments:

Q: And tell me about the medical community. Do they
have a hospital here [in Milledgeville]?

A: Yes,
Q: Where is the hospital?

A: The hospital is Oconee ... Regional Medical Center.

Q: And how many beds does that hospital have?

A: It's licensed for 110 beds for acute care and an
additional 30 beds for chronic care.

Q: How many surgeons practice at that hospital?

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A: We have on our staff approximately 90 active staff
physicians. I would guess approximately half of those
are surgeons of various specialties.

Q: Okay. Where's the nearest tertiary hospital?

A: It's in Macon, Georgia, which is approximately 35
miles away.

Q: And what's the name of that hospital?

A: The Medical Center of Central Georgia.

Q: Do you have privileges there?

*3 A: No.

Q: So I assume you don't practice at that hospital?
A: Ido not.

Q: Is the Oconee Hospital a level one trauma center?
A: No.

Q: Is the Macon County Medical Center (sic) a level one
trauma center?

A: It is.

Q: Do you consider the Milledgeville community a
similar medical community to Memphis, Tennessee?

A: With regards to this particular case, I do.

Q: And why do you consider it to be a similar
community?

A: I] think Dr. Behrman and I have had similar training.
We use similar graft materials, similar techniques.

Q: You are basing your similarity with Dr. Behrman
and if Dr. Behrman, say, moved to another community
in another state wherever that might be, you think you
would still be in a similar community because of his
practice and his training and the graft materials he uses?

A; I'm saying if Dr. Behrman came to Milledgeville,
Georgia, and had a patient similar to Mr. McDaniel,
had asked for a graft material of any type it would be

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available to him. The instruments would be available.
The postop care, including ICU, long-term care, acute
care, all would be comfortable for him.

Q: Is—and you say comfortable because he can get the
same facilities and materials that the Oconee Hospital—

A: Yes. And he would have whatever diagnostic
modalities he would need as well.

Q: Are you familiar with the Memphis medical
community at all?

A: In the city of Memphis?
Q: Yes.

A: No. I've looked at the website for Baptist Memorial.
I know they have approximately 650 beds available.
They have a few more specialties in surgery than we
do, including cardiac surgery, full-time plastic surgery,
pediatric surgery. We don't have those, but we have
others.

Q: So you would agree looking at the demographic
material you did about the Memphis medical
community that it is not a similar community based on
the demographics?

A: Memphis is larger. Baptist Memorial Hospital is
larger. But pertaining to this case, we're equal. We're
similar or equal. I'm very confident in that.

Q: So you say because of this procedure that you would
do it in a similar way in this community at this as Dr.
Behrman would do it in the Memphis community?

A: Yes. Dr. Behrman could do his case here; I could
go there and operate on Mr. McDaniel doing the same
case.

Q: All right. Do you know any doctors from Memphis,
Tennessee?

A: No,
Q: So you don't know any surgeons there?
A: No.

Q: And as far as the Oconee hospital, you said—what
specialties do they have here?

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A: We don't have cardiac surgery here. We don't have
plastic surgery. We don't have pediatric surgery, and we
don't have neurosurgery.

Q: And they have all those things at Baptist Hospital in
Memphis?

A: Yes,

Q: Are you familiar with the other hospitals in Memphis
besides Baptist?

A: No.

Q: So you don't know anything else about the Memphis
medical community other than what you looked up
about Baptist Hospital?

A: That's right.

(Roberts Dep. 13:2-18, 14:13—18:14, Mar. 13, 2013, ECF.
No. 41-1 at 6 to 10, ECF No. 42-2 at 34.)

Il. ANALYSIS

Because this case is before the court pursuant to its
diversity jurisdiction, the court will apply Tennessee law
to assess “[a] witness's competency regarding a claim or
defense for which state law supplies the rule of decision.”
See Miller v. Chinenye Uchendu, M.D., No. 13-CV-2149-
SHL-DKV, 2016 WL 4524306, at *1 (W.D. Tenn. July
21, 2016)(quoting Fed. R. Evid. 601). Tennessee law
requires a plaintiff bringing a health care liability action
to prove through the testimony of a qualified expert
that the defendant violated “[t]he recognized standard of
acceptable professional practice ... in the community in
which the defendant practices or in a similar community at
the time the alleged injury or wrongful action occurred.”
T.C.A. § 29-26-115. In federal court, Section 29-26-115
combines with the requirement of Federal Rule of
Evidence 702 that expert testimony “help the trier of
fact.” See Miller, 2016 WL 4524306, at *1 (first quoting

Cir, 2012); and then citing Legg v. Chopra, 286 F.3d
286, 292 (6th Cir. 2002)); see also Shipley, 350 S.W.3d
at 550-52 (noting the relationship between § 29-26-115
and Tennessee Rules of Evidence 702 and 703). Thus,
to be able to testify, a proposed expert must be familiar
with the “standard of care” in the community where the

allegedly negligent medical care provider practiced, or a
similar community. See Miller, 2016 WL 4524306, at *1.
Tennessee courts have referred to this requirement as the
“ Focality rule,’ codified.” Roberts v. Bicknell, 73 S.W.3d
106, 113 (Tenn. Ct. App. 2001).

*4 Experts may use two approaches to demonstrate
that they meet the locality rule. Under the first approach
experts demonstrate that they are familiar with the
pertinent standard of care by showing that they are
familiar with the medical community in which the
allegedly negligent provider practiced at the time of the
injury. See Johnson y. Richardson, 337 S8.W.3d 816, 820
(Tenn. Ct. App. 2010). Under the second approach experts
must show (1) familiarity with a medical community and
(2) that the community is similar to the one connected to
the case. Id.

UTMG argues that Dr. Roberts does not meet the
locality rule under either approach, while the McDaniels
argue that, according to Shipley, Dr. Roberts meets
the locality rule under both approaches. The court will,
therefore, address whether Shipley has “relaxed” the
locality rule in the manner that the McDaniels suggest,
whether Dr. Roberts has demonstrated that he is familiar
with the Memphis medical community, and whether he
has demonstrated that he is familiar with a medical
community that is similar to Memphis.

A. Shipley y. Williams

In Shipley, the Tennessee Supreme Court analyzed a
twenty-five-year span of Tennessee cases dealing with
the locality rule. It then found that courts should not
exclude an expert from testifying about “a broader
regional standard or a national standard” so long as
that testimony is considered as an element of the expert
witness's “knowledge of the standard of care in the
same or similar community.” Shipley, 350 S.W.3d at
553. It also rejected a condition formulated by several
Tennessee Court of Appeals cases that called for an expert
to have “firsthand and direct knowledge” of a medical
community. Id. at 552-53.

Most important to this case, Shipley provided the
following guidance for determining whether an expert
meets the locality rule:

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The medical expert or experts
used by the claimant to satisfy
this requirement must demonstrate
some familiarity with the medical
community in which the defendant
practices, or a similar community,
in order for the expert's testimony
to be admissible under Rules 702
and 703. Generally, a competent
expert's testimony that he or she
has reviewed and is familiar with
pertinent _ statistical
such as community size, hospital
size, the number and type of
medical facilities in the community,
and medical services or specialized

information

practices available in the area;
has had discussions with other
medical providers in the pertinent
community or a neighboring one
regarding the applicable standard of
care relevant to the issues presented;
or has visited the community
or hospital where the defendant
practices, will be sufficient to
establish the expert's testimony as
admissible.

Id. at 554.

With regard to the McDaniels' argument that Shipley
relaxed or otherwise lowered the standard for proving
what constitutes a similar community, that argument is
directly inconsistent with the language of Shipley itself.
As the court expressly stated in Shipley, “Principles of
stare decisis compel us to adhere to the requirement
that a medical expert must demonstrate a modicum of
familiarity with the medical community in which the
defendant practices or a similar community.” 350 S.W.3d
at 552 (emphasis added). In other words, Shipley did
not alter the minimal showing requirement established
by the Court's prior decisions. See Meares v. Traylor,
No. E2011-02187-COA-R3CV, 2012 WL 3060510, at *4
(Tenn. Ct. App. July 27, 2012) (noting that “the only
changes that Shipley made to the existing case law on
[the locality rule] had to do with whether an expert
could testify to a ‘national’ standard of care, and also

with the ‘personal, first-hand knowledge’ requirement”);
see also Stovall v. Clarke, 113 S.W.3d 715, 723 (Tenn.
2003)\(remanding a case because, among other reasons,
the excluded expert had demonstrated “some underlying
basis for his testimony” that he was familiar with the
local standard of care)(emphasis added); Carpenter_v.
Klepper, 205 S.W.3d 474, 480 (Tenn. Ct. App. 2006)
(“[T]he locality rule requires an expert to have ‘some
knowledge ...’ ”)\(emphasis added); Roberts, 73 S.W.3d at
114 (“The law on expert witnesses, as it exists in Tennessee,
requires the expert to have some knowledge of the practice
of medicine in the community at issue or a similar
community.”). But see Evans ex rel. Evans v. Williams,
No. W2013-02051-COA-R3CV, 2014 WL 2993843, at
*§ (Tenn. Ct. App. June 30, 2014) (noting that Shipley
“relaxed” the locality rule). Regarding the McDaniels'
suggestion that pre-Shipley cases are “outdated case
law,” this argument is also inconsistent with Shipley as
evidenced by the Court's assessment of and reliance upon
its prior decisions in analyzing the locality rule.

B. Whether Dr. Roberts is Familiar With Memphis

*5 The McDaniels argue that Dr. Roberts's knowledge of
statistical information concerning Memphis and Baptist
Memorial Hospital amounts to familiarity with the
Memphis medical community. (ECF No. 41 at 6.) As
quoted above, in his deposition, Dr. Roberts testified
that he looked at the website for Baptist Memorial
Hospital, learned the number of beds in the hospital,
and learned the number and types of specialties. (Roberts
Dep. 16:24-17:4.) He also testified that Memphis is larger
than Milledgeville. (Id. at 17:9.) The McDaniels point to
Shipley and Evans ex rel. Evans v. Williams to bolster
their argument that this testimony provides the “pertinent
statistical information” that an expert must show in order
to demonstrate familiarity with a medical community.
(ECF No. 41 at 7) (first quoting Shipley, 350 S.W.3d at
552-53; and then quoting Evans, 2014 WL 2993843, at
*8).

Shipley mentioned three types of evidence that show
an expert is familiar with a medical community or a
similar community: statistical information, discussions
with local medical providers, and visiting the defendant's
community. Shipley, 350 S.W.3d at 554. However, Shipley
did not specify which type of evidence supports the
familiarity approach and which supports the similarity
approach. Id. at 554-556.

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Prior to Shipley, Tennessee courts have typically treated
experts’ knowledge of statistical information about the
pertinent medical community as evidence necessary for
finding similarity between two communities, not as
evidence of the experts' familiarity with the pertinent
community. See Kirk v. Chavin, No. E2010-02139-COA-
R3CV, 2011 WL 2176406, at *5 (Tenn. Ct. App. June
3, 2011); Johnson, 337 S.W.3d at 821-22; Stanfield v.
Neblett, 339 S.W.3d 22, 34-36 (Tenn. Ct. App. 2010);
Plunkett _v. Bradley-Polk, No. E200800774COAR3CV,
2009 WL 3126265, at *8 (Tenn. Ct. App. Sept. 30,
2009); Farley v. Oak Ridge Med. Imaging, P.C., No.
E200801731COAR3CYV, 2009 WL 2474742, at *12 (Tenn.
Ct. App. Aug. 13, 2009); Nabors v. Adams, No.
W200802418COAR3CV, 2009 WL 2182386, at *5—*6
(Tenn. Ct. App. July 23, 2009); Taylor ex rel. Gneiwek v.
Jackson-Madison Cty. Gen, Hosp. Dist., 231 S.W.3d 361,
369-71 (Tenn. Ct. App. 2006); Carpenter, 205 S.W.3d at
478-80; Travis v. Ferraraccio, No. M2003-00916-COA-
R3CV, 2005 WL 2277589, at *12 (Tenn. Ct. App. Sept.
19, 2005); Bravo v. Sumner Reg'l Health Sys.. Inc., 148
S.W.3d 357, 369 (Tenn. Ct. App. 2003); Roberts, 73
S.W.3d at 114; Wilson v. Patterson, 73 S.W.3d 95, 98-
104 (Tenn. Ct. App. 2001). This court has found only
one pre-Shipley case that suggests statistical information
might be used to show familiarity. See Stovall, 113
S.W.3d at 723. However, in Stovall, there was other, non-
statistical evidence that provided a sufficient basis for
finding familiarity with the pertinent medical community.
Id, (noting that the expert “testified that he had reviewed
over twenty medical charts from the State of Tennessee
and had testified in three malpractice cases in the middle
Tennessee area”). Moreover, even after Shipley, many
Tennessee Court of Appeals cases have continued to
treat statistical information as relevant to the similarity
approach. See Nevels v. Contarino, No, M2012-00179-
COA-R3CV, 2012 WL 5844751, at *6-*7 (Tenn. Ct.
App. Nov. 16, 2012); Meares, 2012 WL 3060510, at *6;
McDonald v. Shea, No, W2010-02317-COA-R3CYV, 2012
WL 504510, at *14-*15 (Tenn. Ct. App. Feb. 16, 2012);
Smith v. Mills, No. E2010-01506-COA-R3CV, 2011 WL
4553144, at *7 (Tenn. Ct. App. Oct. 4, 2011). But see
Evans, 2014 WL 2993843, at *8; Griffith v. Goryl, 403
S.W.3d 198, 206-11 (Tenn. Ct. App. 2012).

This differentiation between types of evidence is
important because the three types of evidence that
Shipley described are not necessarily applicable to

both approaches. When analyzing whether two medical

communities are similar, courts assess the experts’
knowledge of “pertinent statistical information such as
community size, hospital size, the number and type of
medical facilities in the community, and medical services
or specialized practices available in the area.” Shipley,
350 S.W.3d at 554. This information substitutes for
knowledge of the standard of care in the pertinent medical
community. In other words, if experts know the standard
of care in community A, but not in community B, then
their knowledge that the two communities share similar
demographics and statistics equips them to opine on how
community B has the same standard of care as community
A. Thus, the court will treat Dr. Roberts's knowledge
of statistical information as relevant to determining the
similarity between Memphis and Milledgeville but not as
evidence of Dr. Roberts's familiarity with the standard
of care in Memphis's medical community. See Sutphin
v. Platt, 720 S.W.2d 455, 457 (Tenn. 1986) (noting
that the standard of care deals with the “customs or
practices of physicians from a particular geographic
region”) (citing Joseph H. King, The Standard of Care and
Informed Consent Under the Tennessee Malpractice Act,
44 Tenn.L.Rev. 225, 256 (1977)).

*6 Here, the McDaniels only provide Dr. Roberts's
knowledge of certain statistical facts about Memphis and
Baptist Memoria! Hospital to support their argument that
the court should admit his testimony under the familiarity
approach. They have not provided any evidence that
Dr. Roberts is familiar with the customs or practices
that make up the standard of care in Memphis. Indeed,
Dr. Roberts's testimony indicates he is not familiar with
these customs or practices. During his deposition, he
testified that he had never visited Memphis, did not know
any doctors from Memphis, was not familiar with any
hospitals in Memphis other than looking up the Baptist
Memorial Hospital website, and was not familiar with the
Memphis medical community. (Roberts Dep. 11:24-25,
16:20-24, 17:20-18:14.) Therefore, the court finds that Dr.
Roberts's testimony is not admissible under the familiarity
approach to the locality rule and will next consider if it is

admissible under the similarity approach. ' See Sommer
v. Davis, 317 F.3d 686, 694 (6th Cir, 2003) (affirming the
exclusion of an expert who had admitted that “he did not
‘know any of the characteristics of the [pertinent] medical
community’ ”’).

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C. Whether Dr. Roberts is Familiar With a Community
That is Similar to Memphis

The McDaniels' first similarity argument is that
Milledgeville is similar Memphis, because Dr. Roberts
testified that Milledgeville and Dyersburg are similar
and Dr. Behrman testified Dyersburg and Memphis are
similar. The court has found no Tennessee case that has
allowed experts who are familiar with communities A
and B to admit that they know little about community C
and rely, nonetheless, upon testimony from the opposing
party to bridge the community-B-to-community-C gap.
The court need not reach this issue because, in order for
the McDaniels to rely on Dr. Behrman's testimony in
this manner, there must be evidence that Dr. Behrman
is sufficiently familiar with the standard of care in
Dyersburg for him to be able to compare it to the standard
of care in Memphis. The court finds, for the reasons given
below, that Dr. Behrman has not shown such familiarity.

In the excerpts of Dr. Behrman's deposition testimony that
the McDaniels provided to the court, Dr. Behrman made
three key points about his knowledge of the standard
of care in Dyersburg. First, he agreed that his surgeon
acquaintances in Dyersburg, Jackson, Nashville, Georgia,
and Missouri employed similar “surgical practices” to his
own. (Behrman Dep. 19:16-20:11.}) Second, he testified
that he believes there is a national standard of care
for ventral hernia repairs. (Id. at 20:17-19, 92:20-94:17)
Finally, he was asked, “[I]n talking to surgeons in
Dyersburg or Jackson, you don't think the standard
of care for ventral hernia repairs there is any different
than it is in Memphis?” He responded that he thought
the standard of care “would be similar” to the one in
Memphis.

Shipley may have stated that conversations with local
providers about “the applicable standard of care relevant
to the issues presented,” are “[g]lenerally ... sufficient
to establish the expert's testimony as admissible.” 350
S.W.3d at 554, But, Dr. Behrman's testimony on his
familiarity with Dyersburg does not reach the basic
level of familiarity that the locality rule requires. All
the court knows is that Dr. Behrman had conversations
with surgeons, who may have been from Dyersburg or
Jackson, about matters that led Dr. Behrman to think
that the standard of care for ventral hernia repairs
in Dyersburg and/or Jackson “would be similar” to
the standard in Memphis. Dr. Behrman provided no
explanation as to why those conversations persuaded him

to think Dyersburg and Memphis share similar standards
of care. Without this information, the court will not deem
his conclusion a sound one. See Johnson, 337 S.W.3d
at 822-23 (affirming the exclusion of an expert who had
asserted that two communities were similar based upon
medical records from the pertinent community but who
had not explained the number, content, or significance of
the records).

*7 Aside from these conversations, the only concrete
basis Dr. Behrman provided for his conclusion that
Dyersburg and Memphis share a standard of care
was his belief that these communities, and other small
communities like Franklin County, are governed by a
national standard care. While testimony about a national
standard of care may be one of the facts supporting the
determination that an expert meets the locality rule, it
may not be the only one. See Shipley, 350 S.W.3d at
553. Asa result, Dr. Behrman's testimony did not provide
a sufficient foundation for his belief that Memphis and
Dyersburg have similar standards of care. Thus, the court
finds that his testimony cannot provide the basis for
Dr. Roberts's claim that Milledgeville and Memphis are

similar,

The McDaniels’ second similarity argument is that Dr.
Roberts demonstrated similarity between Milledgeville
and Memphis through his testimony about the similarities
between Oconee Regional Medical Center and Baptist
Memorial Hospital. When describing Oconee Regional
Medical Center, Dr. Roberts observed that it has “110
beds for acute care and an additional 30 beds for
chronic care,” is not a tertiary hospital, and does not
have a level one trauma center. (Roberts Dep. 13:14—
15:1.) He described Baptist Memorial Hospital as having
“approximately 650 beds available,” and four more
specialties than Oconee Regional Medical Center. (Id. at
16:21-17:4, 18:2-7.)

The McDaniels have not provided, and this court has
not found, a single case in which a Tennessee court has
determined that two medical communities were similar
based purely upon similarities between two hospitals.
There is good reason for the dearth of such case law.
Finding similarities between two communities involves
comparing “community size, hospital size, the number
and type of medical facilities in the community, and
medical services or specialized practices available in the
area.” See Shipley 350 S.W.3d at 554. Two hospitals do

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not two communities make. See Sommer, 317 F.3d at

694-95 (affirming the exclusion of an expert who stated Ill. CONCLUSION

that two communities were similar because they both

had elite medical schools); Johnson, 337 $.W.3d at 822 ‘For the foregoing reasons, UTMG's motion to exclude the
(“[T]he mere fact that both communities had outlying testimony of Dr. Roberts is GRANTED. ?

hospitals is insufficient on its own to establish that the

two communities were similar.”). Thus, the court finds *8 ITIS SO ORDERED.

that Dr. Roberts's testimony is not admissible under the

similarity approach.

All Citations

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Footnotes

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There are any number of additional steps that experts might take to familiarize themselves with the standard of care
in a specific medical community—including reviewing medical charts, Stovall, 113 S.W.3d at 723, studying the records
and recommendations for treatment for referrals from the local community, Ledford v. Moskowitz, 742 S.W.2d 645, 648
(Tenn. Ct. App. 1987), and even observing the depositions and testimony of local physicians in other cases, Wilson, 73
S.W.3d at 99-100. No such evidence has been provided concerning Dr. Roberts.

To the extent the McDaniels argue for similarity based upon Dr. Behrman's testimony regarding the similarities between
the Memphis medical community and several smaller communities, the court views this argument as no different from
arguing for reliance solely upon a national standard of care.

The court notes that several courts and commentators have widely criticized this rule as inflexible and outdated and have
advocated for the legislature to reform the law to reflect modern developments in medicine. See Shipley, 350 S.W.3d
at 538 n.7 (collecting cases and articles). As the Sixth Circuit observed in Brown v, United States, 355 Fed.Appx. 901,
907 n.1 (6th Cir. 2009),

The Tennessee Supreme Court also noted its discontent with the locality rule as a whole and
suggested to the General Assembly that it be changed to account for the fact that national norms,
especially with respect to specialized procedures such as the one in question here, are often
representative of the local norms. Robinson v. Le Corps, 83 S.W.3d 718, 724 (Tenn. 2002). We
agree with the Tennessee Supreme Court and also encourage the General Assembly to address
this issue. However, we are not only bound, as was the Tennessee Supreme Court, by the existing
statute but are also bound by the Tennessee Supreme Court's interpretation of the locality rule
provided in Robinson.

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